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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

EZEKIEL J. COX, )
Plaintiff,
V. ) Civil Action No. 3:19CV111-HEH
DR. NWAOKOHA, e7 al.,
Defendants.
MEMORANDUM OPINION

 

(Dismissing Action Without Prejudice)

By Memorandum Order entered on March 19, 2019, the Court conditionally
docketed Plaintiffs action. At that time, the Court warned Plaintiff that he must keep the
Court informed as to his current address if he was released. On December 9, 2020, the
Virginia Department of Corrections defendants informed the Court that Plaintiff had been
“release[d] from state custody.” (ECF No. 64, at 2.) Since that date, Plaintiff has not
contacted the Court to provide a current address. Plaintiff's failure to contact the Court
and provide a current address indicates his lack of interest in prosecuting this action. See
Fed. R. Civ. P. 41(b). Accordingly, the action will be dismissed without prejudice. The
outstanding motions (ECF Nos. 59, 63) will be denied without prejudice.

An appropriate Order shall accompany this Memorandum Opinion.

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HENRY E. HUDSON
Date: Tune 4.202) SENIOR UNITED STATES DISTRICT JUDGE
Richmond, Virginia

 
